          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION

                     CRIMINAL CASE NO. 2:07cr39-5


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                   ORDER
                            )
                            )
GAVIN COLVIN.               )
                          )



      THIS MATTER is before the Court on the Defendant’s Motion for

Clarification of Court Order Dated Oct. 1, 2010 [Doc. 154] and the identical

document apparently filed a second time [Doc. 155].



                         PROCEDURAL HISTORY

      On October 1, 2007, the Defendant and four co-conspirators were

charged with conspiracy to distribute and to possess with intent to distribute

methamphetamine. [Doc. 1]. The Defendant elected to go to trial and on

February 5, 2008, he was found guilty of the conspiracy charge. [Doc. 78]. On

December 5, 2008, the Defendant was sentenced to 121 months

imprisonment. [Doc. 113].     The Defendant appealed his conviction and




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sentence. [Doc. 109, Doc. 116].

      While his case was on appeal, the Defendant moved to dismiss the

indictment. [Doc. 146; Doc. 147; Doc. 149]. On November 24, 2009, the

United States Fourth Circuit Court of Appeals affirmed the Defendant’s

conviction and sentence. United States v. Colvin, 353 Fed.Appx. 847 (4 th Cir.

2009). On return of the mandate to this Court, the Defendant’s motions to

dismiss were denied on April 30, 2010 as untimely. [Doc. 151]. In denying the

motion, the Court noted that the grounds the Defendant sought to raise would

be more appropriately brought pursuant to 28 U.S.C. §2255. [Id.]. The Court,

however, did not re-characterize the motions. The Defendant did not appeal.

      Instead, four months later, the Defendant filed a motion for relief from

that Order pursuant to Federal Rule of Civil Procedure 60(b)(4). [Doc. 152].

That motion was denied on October 1, 2010 because the Defendant cited the

Federal Rules of Civil Procedure in a criminal case and the Court found his

filing frivolous. [Doc. 1].

      The Defendant now moves for clarification of the October 1, 2010 Order

so that he may file a notice of appeal.

                                DISCUSSION

      Although the Defendant has not captioned the pending motion as one




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for reconsideration, it appears that is the relief sought.1            The Defendant

“cannot point to any federal statute that expressly authorize[s] [a] motion for

reconsideration [in the criminal context]; no such provision exists.” United

States v. Goodwyn, 596 F.3d 233, 235-36 (4 th Cir. 2010), certiorari denied 130

S.Ct. 3530, 78 USLW 3763 (2010); United States v. Hayes, 282 Fed.Appx.

281 (4 th Cir. 2008) (“[T]he Federal Rules of Criminal Procedure do not

specifically provide for motions for reconsideration and prescribe the time in

which they must be filed[.]”) (citations omitted). “Of course, the Federal Rules

of Civil Procedure do not apply” to criminal cases. Goodwyn, 596 F.3d at 235

n.; Gray v. United States, 2010 WL 2600696 **2 (3 rd Cir. 2010) (“Rule 60(b)

cannot be used as an independent means to relieve a defendant of a

judgment in a criminal case, because the Federal Rules of Civil Procedure are

not applicable to criminal cases.”).

      “While district courts generally have ‘inherent authority’ to decide

motions for reconsideration” of an order, as opposed to judgments, in a

criminal case, the pending motion was filed almost four months after entry of

the Order from which the Defendant seeks relief. Goodwyn, 596 F.3d at 236

(quotation omitted). If a motion to reconsider or for a rehearing is filed in a



      1
        The Defendant also cites Federal Rules of Civil Procedure 52(a) and 54(b),
neither of which is applicable for the same reasons as discussed infra.

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criminal case before the time within which an appeal must be taken expires,

the motion tolls the time to appeal until the motion is decided. Hayes, 282

Fed.Appx. at 282. Here, the Defendant submitted the motion to reconsider

“well beyond the applicable period of time provided to notice an appeal of the

[order] he sought the district court to reconsider.” Id. As a result, the motion

must be denied. Id.; United States v. Wells, 2010 WL 4306054 (4 th Cir. 2010);

United States v. Wells, 343 Fed.Appx. 877 (4 th Cir. 2009); United States v.

Bell, 142 Fed.Appx. 782 (4 th Cir. 2005); United States v. McKenzie, 2009 WL

4893112 (W.D.N.C. 2009), affirmed 368 Fed.Appx. 410 (4 th Cir. 2010).



                                   ORDER

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion for

Clarification of Court Order Dated Oct. 1, 2010 [Doc. 154] and the identical

document apparently filed a second time [Doc. 155] are hereby DENIED.

                                       Signed: November 11, 2010




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